    Case 1:25-cv-10676-BEM          Document 112-3       Filed 05/20/25   Page 1 of 4




                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


D.V.D.; M.M.; E.F.D.; and O.C.G.,

             Plaintiffs,

                 v.
                                                         Civil Action No. 25-cv-10676-BEM
U.S. DEPARTMENT OF HOMELAND SECURITY;
Kristi NOEM, Secretary, U.S. Department of
Homeland Security, in her official capacity; Pamela
BONDI, U.S. Attorney General, in her official
capacity; and Antone MONIZ, Superintendent,
Plymouth County Correctional Facility, in his official
capacity,

             Defendants.



     AUTHENTICATING DECLARATION OF GLENDA M. ALDANA MADRID
     Case 1:25-cv-10676-BEM           Document 112-3         Filed 05/20/25      Page 2 of 4




I, Glenda M. Aldana Madrid, declare under penalty of perjury that the statements that follow are

true and correct to the best of my knowledge and belief:

1.     I am a staff attorney at the Northwest Immigrant Rights Project. I am one of the counsel

for Plaintiffs and class members in the above-captioned case. I submit this declaration in support

of Plaintiffs’ Emergency Motion for a Temporary Restraining Order on behalf of class members

removed to South Sudan.

2.     I have personal knowledge of the facts set forth herein, and, if called as a witness, I could

and would testify completely as set forth below.

3.     Enclosed as Exhibit A is a true and correct copy of an email I received from class

member T.T.P.’s partner seeking help regarding T.T.P.’s removal to a third country.



       Executed this 20th day of May 2025, in Seattle, Washington.

                                                       s/ Glenda M. Aldana Madrid
                                                       Glenda M. Aldana Madrid




                                                   1
Case 1:25-cv-10676-BEM   Document 112-3   Filed 05/20/25   Page 3 of 4




                            EXHIBIT A
Case 1:25-cv-10676-BEM   Document 112-3   Filed 05/20/25   Page 4 of 4
